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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 UNITED STATES OF AMERICA,                   CR 21-40-BLG-SPW

                  Plaintiff,

            vs.
                                             FINAL ORDER OF FORFEITURE
 GREGG LAWRENCE HAYWOOD,
 SR.,

                  Defendant.



      This matter comes before the Court on the United States’ motion for final

order of forfeiture (Doc. 37). Having reviewed the motion, the Court FINDS:

      1.      The United States commenced this action pursuant to 18 U.S.C.

§ 924(d);

      2.      A preliminary order of forfeiture was entered on December 16, 2021

(Doc. 35);

      3.      All known interested parties were provided an opportunity to respond

and that publication has been effected as required by 18 U.S.C. § 982(b)(1) and 21

U.S.C. § 853(n)(1);




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         4.      There appears there is cause to issue a forfeiture order under 18

U.S.C. § 924(d);

         IT IS THEREFORE ORDERED that:

         1.      The motion for final order of forfeiture (Doc. 37) is GRANTED.

         2.      Judgment of forfeiture of the following property shall enter in favor of

the United States, pursuant to 18 U.S.C. § 924(d), free from the claims of any other

party:

              • an Iberia Firearms, model JCP, semi-automatic pistol CAL: 40 (SN:
                X730084); and

              • 9 rounds of Winchester ammunition CAL: 40.

         3.      The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.

         DATED this 8th day of March, 2022.



                                                  SUSAN P. WATTERS
                                                  United States District Judge




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